                                                                                             U.S. DI          TCOURT
                                                                                     EASTERN D                 OF LOUISIANA

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                                                                                     FILED       0       20       2021


                     UNITED STATES DISTRICT COURT                                                        L MICHEL
                                                                                                       CLERK
                     EASTERN DISTRICT OF LOUISIANA

THERINE BROWN,                                       Case No. : 2:21   +v   -01   844-JTM-JVM
             Plaintiff,

                                                     J   UDG E JANE TRICHE          MILAZZO

   ANGO TOPKAH, ET AL.,                              MAGISTRATE JUDGE JANIS VAN
                                                     MEERVELD
             Defendants

                  EX PARTE MOTION FOR EXTENSION OF TIME
                 WITTIIN WHICH TO FILE RESPONSIVE PLEADING

ow INTO couRT,        through Pro se Defendant, Theresa Brunson ("Defendant                                  come

 move this Court for an order granting an extension of time within which to file

  ings in the above-captioned proceeding, in accordance with Local Rule 7.g. In                              of
s motion, Defendant Brunson represent as      follows:

 1.   This court's Local Rule 7.8 provides that by        ex   parte motion a party my rece             an

      extension of time to plead thirry (30) days from the time the pleading                           would be

      due, upon certification that there has been no previous extension of time                        which to

      plead and that the opposing party has not filed into the record an objection to

      extension of time.

 2.   Responsive pleadings are otherwise due to be filed by pro se Defendant B                          on or

      before January 14, 2022.

 3.   Undersigned Pro se Defendant Brunson here by certifies that there has been no
                                                                                                             lous

      extension of time within which to answer, move, or otherwise respond to the
                                                                                                                  ln

      this action, and that the plaintiffs have not fired into the record an objection to

      extension of time.

           TENDERED FOR FILING

                                                 1
                    D:32)'ri'l
              U.S. DISTRICT COURT
             Easiern District of Louidana
                     DePutY   Clert
WHEREF0RE, Pro se Defendant Brunson respectfully move this court on an ex
                                                                                       basis

for an oxtension of time within which to answer, move, or otherwise respond to

complaint in this action of thirty (30) days from the time a responsive pleading

would be due, or through January 14,2022.




                                                    lly   subm                     t


                                         Theresa Brunson, Pro Se
                                         610l Limekiln Pike
                                         Philadelphia, PA 19141
                                         T2267-251-0828
                                         F:215-5254363
                                         tdbrunsonesq@gmai l.com




                                            2
                        CERTIF'ICATE OF SERVICE

HEREBY CERTIFY that on December 20,2021, a copy of the foregoing pleading                   filed via

lectronic mail with the Clerk of Court -Pro Se section. Notice of this filing   will   be   to all

      lof   record via electronic mail, and facsimile. I also certify that I have mailed    filing by
    Class United States Postal Service to all counsel of record.

                                                                                               I,
                                                                                                ^l*lu* I
                                                       Theresa Brunson




                                                   3
                                   CERTIFICATE OF SERVICE



         I, Theresa Brunson, a Pro Se Defendant, certifo that on December 20,2ozl
                                                                                  ,r              true

      correct copies of the foregoing Ex Parte Motion for Extension of Time Within
[nd                                                                                            to File

               Pleading to be filed with the Clerk of Court, Pro Se section, via electronic
fi.esPonsive                                                                                     and

United States First Class Mail via the United States Postal Service, to the following
                                                                                              is listed
I



[s the attorney of record:




                              Dominic N. Varrecchio, LA Bar No. 19456
                                  1539 Jackson Avenue, Suite 100
                                      New Orleans, LA 70130
                                         T: (50a) 524-8600



      Dated: December 20, 2021




                                                   4
LAEDdb ProSeDocs

From:                            MsHowardU Esq 94 <tdbrunsonesq@gmail.com >
Sent:                            Monday, December 20, 2021 10:'16 AM
To:                              LAEDdb_ProSeDocs
Subject:                         Brown v. Topkah, et al. -DEFENDANT BRUNSoN REQUEST FoR EXTENT|oN oF TtME To
                                 RESPOND
Attachments:                     Brunson ProSeMotionforExtensiontofilel Response.pdf



CAUTION . EXTERNAL:


Good Morning,

Please see attached Defendant's Ex Parte Motion for Extension of Time Within Which   to File Responsive Pleading.

Thank you in advance for your attention.

Rega rd s,


Theresa Brunson
267-257-0828
CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




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